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 8                                       UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ARLEEN MURPHY,                                       No. 2:19-cv-1665 DB P
12                          Plaintiff,
13              v.                                         ORDER
14    DAVID NELSON,
15                          Defendant.
16

17             Plaintiff, a county prisoner proceeding pro se, has filed a civil rights action pursuant to 42

18   U.S.C. § 1983. On August 30, 2019, plaintiff was directed to pay the filing fee or submit an

19   application to proceed in forma pauperis. Plaintiff has now filed a request for leave to proceed in

20   forma pauperis pursuant to 28 U.S.C. § 1915. Plaintiff has not, however, filed a certified copy of

21   his prison trust account statement for the six month period immediately preceding the filing of the

22   complaint. See 28 U.S.C. § 1915(a)(2). Plaintiff will be provided the opportunity to submit the

23   completed application and the certified copy in support of his application to proceed in forma

24   pauperis.

25             In accordance with the above, IT IS HEREBY ORDERED that:

26             1. Plaintiff shall submit, within thirty days from the date of this order, a certified copy of

27   his prison trust account statement for the six month period immediately preceding the filing of the

28   /////
                                                           1
           Case 2:19-cv-01665-DB Document 6 Filed 12/26/19 Page 2 of 2

 1   complaint. Plaintiff’s failure to comply with this order will result in a recommendation that this

 2   action be dismissed without prejudice.

 3             2. The Clerk of the Court is directed to send plaintiff a new Application to Proceed In

 4   Forma Pauperis By a Prisoner.

 5   Dated: December 23, 2019

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     DB:12
15   DB:1/Orders/Prisoner.Civil.Rights/murp1665.3e

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